      Case 17-34351 Document 57 Filed in TXSB on 01/30/19 Page 1 of 2
       Case 17-34351 Docum ent5:-4 Filed in TXSB on :11/24/18 Page 1 of2




                       UNITED STA TES BA NK RU PTC Y CO URT                               ENTERED
                         SO UTH ER N DISTRICT O F TEXA S                                  01/30/2019
                               H O USTO N DIV ISIO N

                                             j
IN RE:                                       b
                                             b
DA RREL T.USELTO N                           j CaseNo.17-34351
                                             b
       Debtors.                              b (Chapter7)
                        O RD ER G R AN TING M O TIO N TO SELL
                                     (DocketNo.
        TheCourthasconsidered the Trustee'sM otion for(i)ApprovalofSaleofProperty Free
andClearofLiensUnderl1U.S.C.j363(9;and(ii)OrderAuthorizingthePaymentofCertain
Debts,Closing Expenses and Fees. The CourtGnds that (i)the proposed sale is in the best
interestoftheEstateand itscreditors;(ii)adequatenoticeoftheproposed saleand thehearingto
consider the sale has been given to allcreditors and parties-in-interest;and (iii)the property
should beconveyed free and clearofalIIiens,claimsand encumbrancespursuantto l1U.S.C.j
363(9.Accordingly,itis
       O RDERED TH AT:

       1. The Trustee's M otion For(i) Approvalof Sale of Property Free and Clearof
Liens Under 1l U.S.C.j 363(9.
                            ,and (ii)OrderAuthorizing the PaymentofCertain Debts,
Closing Expenses and Fees is GR ANTED . The RealEstate Purchase Contractattached to the
Trustee's M otion isapproved.

       2.     The Trustee is authorized to sell the follow ing real property to Dennis and
RebeccaW alkerortheirassigns(theûcpurchaser'')foracash priceof$178,180.00:
       .      Section 42,Block 7 1,Township 7,Texasand Pacific Railway Com pany Surveys,
              Hudspeth County,Texas,Save and Exceptportions thereof,described in Volume
              28, Page 478 and V olume 88, Page 343, Real Property Records, Hudspeth
              County,Texas.

(thebkproperty'-)
       Case 17-34351 Document 57 Filed in TXSB on 01/30/19 Page 2 of 2
        Case 17-34351 Docum ent5:-4 Filed in TXSB on Q'/2;/18 Page 2 of2



        3.      The Trustee is authorized to escrow and,ifrequired,pay certain closing expenses
in connection with thesale.Theseexpensesinclude(i)any outstanding ad valorem taxesdueon
the property, (ii) the debt associated with the Deed of Trust, and (iii) any miscellaneous
expenses/charges incidentto closing the sale.

       4.      The title com pany shalldisburse 50% ofthe netproceedsto the Trustee on behalf
ofthe Debtor's bankruptcy estate and 50% ofthe netproceedsto the Cam ille Living Trust. A ll
proceeds distributed to the Trustee willbe held pending furtherCourtorderas required by the
Bankruptcy Code.

        5.      The sale ofthe Property to the Purchasershallbe m ade free and clearof alIliens,
claim s,interests and encum brances and with no representationsorw arranties.The Property shall
be conveyed free and clear of al1such liens,claim s,interests and encum brances regardless of
w hethersuch liensand claim s are paid in full.A llsuch liens,claim s,interestsand encum brances
shallcontinue in the netsales proceeds,ifany.

       6.    Upon the consum m ation ofthe sale,al1persons holding any lien,claim ,interestor
encum brance against or in the debtors or the Property of any kind or nature whatsoever,
including alltaxing authorities,are foreverbarred,estopped,and permanently enjoined from
asserting,prosecuting orotherw ise pursuing such lien,claim ,interestorencum brance againstthe
Purchaserorthe Property.

        7.     The Trustee is authorized to execute aII docum ents necessary to effectuate the
sale,including butnot Iim ited to a specialwarranty deed conveying allright,title and interestin
and to the Property to the Purchaser.

        8.      Upon the Trustee's or Purchaser's request, any and alI holders of any Iiens or
encum brances fsled of public record or arising by statute,including ad valorem tax Iiens,are
hereby ordered to execute a release of such liens and encum brances as,butonly to the extent
that, they affect the Property. lf any person or entity that has filed financing statem ents,
m ortgages,mechanics liens,abstracts,lispendens or otherdocum ents evidencing a lien,claim ,
interest or encum brance in the Property shall not have delivered to the Trustee prior to the
closing ofthe sale,in proper form forfiling and executed by the appropriate parties,term ination
statem ents, instrum ents of satisfaction, or releases of al1 such liens, claim s, interests or
encum brances,the Gling orrecording ofa certified copy ofthis Ordershallconstitute conclusive
evidence ofthe release ofallliens,claim s,interests orencum brances in the Property.

        9.      TheCourtretainsexclusivejurisdictionto interpretandenforcetheprovisionsof
thisO rderand the transactionscontemplated herein.

        SIGN ED this         O       dayof         AX gê           ,201   .




                                          JeffBo m
                                          U.S.Bankruptcy Judge

O rderApproving Sale ofProperty
Page2 of2
